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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )            8:05CR131
                       Plaintiff,                )
                                                 )
       vs.                                       )              ORDER
                                                 )
PABLO REZA LANDIN,                               )
                                                 )
                       Defendant.                )


       This matter is before the court on the motion of Michael T. Levy to withdraw as
appointed counsel for the defendant, Pablo Reza Landin (Landin) (Filing No. 130). Since
retained counsel, Hugh I. Abrahamson, has entered an appearance for Landin (Filing No.
129), Mr. Levy’s motion to withdraw (Filing No. 130) is granted. Mr. Levy shall forthwith
provide Mr. Abrahamson with the discovery materials provided the defendant by the
government and such other materials obtained by Mr. Levy which are material to Landin’s
defense.
       Mr. Levy shall submit his CJA voucher to the Office of the Federal Public Defender
within forty-five days of this order.
       The clerk shall provide a copy of this order to the Federal Public Defender.
       IT IS SO ORDERED.
       DATED this 5th day of December, 2005.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
